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DEFAULT JUGDMENT MOTION COVER SHEET

MDL MOVING PAPERS
Motion: ECF No. _ 9660

Memorandum of law: ECF No. _ 9661
Declaration & supporting exhibits: ECF No. _ 9663

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
Exhibit Description of Plaintiffs Cause(s) of Action

A-L List of Personal Injuries Plaintiffs and Declarations FSIA, 28 U.S.C. Sec. 1605A(c)

DEFENDANTS
Please list all defendants the plaintiffs are moving against:

Islamic Republic of Iran, Islamic Revolutionary Guard Corps, Central Bank of the Islamic Republic of Iran

COMPLIANCE
As stated in ECF No. _ 9663 at J _18 , counsel followed the quality control measures outlined in
ECF No. 3433 and adopted in ECF No. 3435,

As stated in ECF No. _ 9663 at 7_18_, these plaintiffs have not previously received judgments
against these defendants.

Excel versions of any tables attached to the proposed order were emailed to
Netburn NYSDChambers@nysd.uscourts.gov on_3__/ 26 / 2024

SUBJECT MATTER JURISDICTION
H The Court previously addressed subject matter jurisdiction over these claims in ECF No. __ 85

O The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
H The Court previously addressed personal jurisdiction over these defendants in ECF No. __ 85

O The Court has not addressed personal jurisdiction over these defendants.

FACTUAL & LEGAL QUESTIONS

O This motion requests 0 new functional equivalence findings; D new personal injury assessments;
or O resolution of a new issue:

H ‘This motion does not raise novel factual or legal issues.
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RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

Member Case & Notices of Amendment Alternative Service Affidavit of Certificate of Liability
Operative Complaint & Substitutions Order Service Default Judgment
*list entries relevant to moving plaintiffs* |*complete if applicable* *leave blank if requesting

liability judgment*

1:15-cv-09903(GBD)(SN), 53 11/10/2016, 64 12/5/2016, 67 1/31/2017, 85

